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David N. Mark (WSBA No. 13908) _
Law Office of David N. Mark

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Seattle, WA 98104

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William J. Rutzick (WSBA No. 11533)
Kathy Goater (WSBA No. 9648)
Schroeter Goldmark & Bender

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Seattle, WA 98104

Tel.: 206-622-8000; Fax: 206-682-2305

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

JOSE NUNEZ, et al., individually and as class
representative, No. CV-06-5041-LRS

Plaintiff, DECLARATION OF DAVIDN.
MARK IN SUPPORT OF MOTION

V. RE CLASS SETTLEMENT
TYSON FRESH MEATS, INC.,

Defendants.

 

 

I, David N. Mark, declare as follows:

 

 

 

1. Tam one of plaintiffs’ counsel of record herein.
2. Attached hereto are true and accurate copies of the following documents:
Exhibit 1 Class Action Settlements, with Allocation
Plan attached
Exhibit 2 Limitations Period Tolling agreement
Exhibit 3 Proposed Notice of Settlement (including
return post card)

 

 

 

 

DEC. OF DAVID N. MARK ... RE CLASS SETTLEMENT - 1 LAW OFFICE OF
DAVID N. MARK
CENTRAL BUILDING, SUITE 500
810 THIRD AVENUE

SEATTLE, WA 98104
(206) 340-1840 FAX (206) 340-1846

 
 

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Case 2:06-cv-05041-RHW ECFNo.4 filed 05/19/06 PagelD.36 Page 2 of 24

3. The parties propose providing notice and distribution of settlement checks
herein and in Chavez using methods that were approved and have proven successful in
Alvarez v. IBP. Notices will be mailed by first-class mail to last known addresses and
class members who do not return the proposed information post-cards will be sent
notices through the IRS Letter Forwarding Program. In addition, plaintiffs’ counsel
will run undeliverable addresses through a credit report search for class members who
have damages of more than $ 1,000 and have not responded to the notice or IRS letter.
In Alvarez, plaintiffs have already had positive contact with class members accounting
for over $ 8.2 of the $ 8.5 million in settlement funds, with almost two months
remaining to hear from additional class members. In addition, plaintiff have had
considerable contact — with address confirmation — from many Chavez and Nunez
plaintiffs, as part of the Alvarez distribution process.

4, Class counsel and Mr. Nunez unanimously recommend that this
Settlement be approved. The Chavez class representatives, who include Nunez class
members, also recommend approval of this agreement. The settlement is
recommended based on the risk/benefit analysis of litigation and delays in proceeding.

I declare under penalty of perjury under the laws of the State of Washington and
the United States that the foregoing is true and correct and based on personal

knowledge.

DEC. OF DAVID N. MARK ... RE CLASS SETTLEMENT - 2 LAW OFFICE OF
DAVID N. MARK

CENTRAL BUILDING, SUITE 500
810 THIRD AVENUE

SEATTLE, WA 98104
(206) 340-1840 FAX (206) 340-1846

 

 
 

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Executed at Seattle, Washington, this _/ 7 ~ day of Gado

/s/David N. Mark

David N. Mark, WSBA #13908

Law Office of David N. Mark

810 Third Avenue, Suite 500

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Tel: (206) 340-1840; Fax: (206) 340-1846
E-mail: david@marklawoffice.com

DEC. OF DAVID N. MARK ... RE CLASS SETTLEMENT - 3 LAW OFFICE OF
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EXHIBIT 1

 

 
 

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CLASS ACTIONS SETTLEMENT

1. Plaintiffs’ and defendants”, by and through their undersigned attorneys, hereby
enter into the following agreement for purposes of settlement, distribution of monies and future
compliance in the following two class actions:

a. Chavez et al. v. IBP et al., Case No. 01-5093 (E.D. Wa.)(““Chavez”’)

b. Nunez v. Tyson Fresh Meats, Inc., (not yet filed) (E.D.Wa.)(“Nunez’”)
This agreement requires Court approval in each of the above actions and such approval is the
condition subsequent to this agreement.

2. This settlement will end all wage and hour litigation brought or presently
contemplated by plaintiffs regarding the Pasco, Washington beef facility.

3. Upon the parties signing this agreement, they will jointly request that the Ninth
Circuit Court of Appeals enter an order which dismisses the Ninth Circuit appeal in Chavez
without prejudice to reinstatement, while returning the case to the District Court for
consideration of the parties’ settlement agreement.

4. Upon entry of the order of dismissal in the Chavez Ninth Circuit Appeal
(discussed above), the parties will file the following documents in the United States District
Court for the Eastern District of Washington:

a) Chavez Joint Motion and Memorandum for Preliminary and Final
Approval of Class Settlement, in a form agreed to by the parties.

b) Nunez? complaint (to be filed by plaintiffs)

 

' “Plaintiffs” as used herein refers to the class representatives in each action, who, represented by counsel, represent
the interest of all members of the class certified by the District Court in Chavez and to be certified in Nunez.

? Shortly prior to the filing of the Chavez case, IBP entered into a merger agreement with Tyson Foods, Inc. IBP
plants, including the Pasco, Washington plant herein are now operated as part of Tyson Fresh Meats, Inc. IBP, Inc.
no longer exists as a legal entity. The agreement herein is with Tyson Foods, Inc. and Tyson Fresh Meats, Inc.,
hereinafter referred to as “defendants.”

> Nunez has been previously referred to by the parties as “Pasco IIL”

Class Actions Settlement — page 1

 

 
 

 

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c) Nunez Joint Motion and Memorandum for Preliminary and Final
Approval of Class Settlement .

d) Nunez Civil Cover Sheet indicating that it is a related case to Chavez.

5. Defendants agree to pay $ 10,200,000 to the plaintiffs as their maximum liability
in Chavez and Nunez, pursuant to the terms and conditions stated herein below.

6. The plaintiffs propose distribution of the money to the Chavez and Nunez class
members according to the Allocation Plan, attached hereto. The Allocation Plan affects only the
distribution of class proceeds as between the Chavez class, the Nunez class and the class
attorneys, without affecting the rights and obligations of defendants. Changes in the Allocation
Plan, if any, shall be made only upon Court approval, with prior notice to defendants. The Court
shal! not approve any proposed change to the extent it materially prejudices defendants.

7. Within 10 days of the filing of this agreement with the court, defendants shall
provide copies of documents to the governmental entities whom defendants deem prudent to
provide notice pursuant to 28 U.S.C. § 1715.

8. Within 10 days of the signing of this agreement, defendants shall provide to
plaintiffs a unified class list in electronic format with the names, last known addresses and social
security numbers of each member of the Chavez and Nunez classes. The class list shall be
unified in the sense that it shall be comprised of one record for each individual, with fields
indicating whether the individual is a member of the Chavez and/or Nunez class. Defendants will
also provide their Nunez calculation reports. The class lists, payroll records and reports shall be
subject to the Chavez confidentiality order and used solely for purposes of the Chavez and Nunez
litigation and shall not be shared with class representatives, class members or Teamster or any
other labor organizations.

9, The Chavez and Nunez joint motions for preliminary and final approval shall:

Class Actions Settlement — page 2

 
 

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a) request a final hearing be scheduled in federal district court in Richland,
Washington at the Court’s earliest convenient date as soon as practicable
after 90 days after defendants serve the 28 U.S.C. § 1715 notices provided
for supra.

b) include proposed class action notices.

10. The condition subsequent to this Class Actions Settlement shall be deemed
satisfied when there are final orders approving the settlements in Chavez and Nunez and the time
for filing an appeal has passed without no appeals having been filed. The date on which the
condition subsequent is satisfied for both Chavez and Nunez is referred to herein as the
“Settlement Implementation Date.” In the event an appeal is filed the settlement implementation
date is suspended until final approval is obtained in appellate proceedings or on remand. At the
time of the final settlement hearing, Plaintiffs shall provide Defendants with a Preview List for
“First Round List Part A,” which shall include class member names, social security numbers and
addresses of class members as to whom plaintiffs have confirmed addresses at that time. The
purpose of this Preview List is to enable Defendants to get a head start on preparing the records it
needs to produce First Round List Part A checks.

11. Within 10 business days of the “Settlement Implementation Date,” plaintiffs shall
provide defendants by email a “First Round List Part A” in Excel and pdf formats. The
individuals on this list shall be those Chavez and/or Nunez class members as to whom plaintiffs
have confirmed addresses. The “First Round List Part A” shall include each class member’s
name, social security number, and mailing address. The “First Round List Part A” shall also list
by each class member the amount that he or she is to receive in Chavez, with the amount divided
into (i) the aggregate of wage components (i.e., a consolidated figure for recovery on plaintiffs’

minimum wage, overtime, rest break and double shift gap time claims) and (ii) the aggregate of

Class Actions Settlement — page 3

 
 

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non-wage components (i.e., liquidated/double damages, and pre-judgment interest). The “First
Round List Part A” shall also list by each class member the amount that he or she is to receive in
Nunez, with “2 of damages allocated to wages and % of damages allocated to non-wages
(liquidated damages and double damages).

12. Within 20 business days from receiving the “First Round List Part A” from
plaintiffs, defendants shall provide plaintiffs’ counsel with class member checks drawn on
Defendants’ account with “Wage/Hour Class Action” printed in the lower left corner in the same
size type as Tyson appears on the check, as follows:

a) one or more checks made payable to each class member on the “First
Round List Part A,” with the gross amounts equaling the amounts set forth

on the “First Round List Part A” list,

b) a check made payable to Schroeter Goldmark & Bender Trust Account in -.
the amount of $ 1,500,000.

13. Each check will include a notation that it is valid only for, and must be negotiated,
within 90 days. Plaintiffs will be responsible for distributing the checks to the payees, and they
may include correspondence from plaintiffs’ counsel to accompany the checks. Plaintiffs will
inform defendants of the date(s) the checks were distributed. Defendants will be responsible for
calculating and remitting the employer’s share of payroll taxes on the wage component (without
expense to the class members) and deducting from the class members’ wage component the
employee’s share of payroll taxes and required income tax withholding. No deductions will be
taken from the non-wage components, except to the extent required by IRC § 3406 (regarding
backup withholding). Defendants will report the wage component with an IRS W-2 form and the
non-wage component with an IRS 1099 form.

14. Within 10 business days after entry of an order or orders granting preliminary

approval of both the Chavez and Nunez settlements, plaintiffs will commence the process of

Class Actions Settlement — page 4

 
 

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attempting to locate class members pursuant to IRS Policy Statement P-1-187 and Revenue
Procedure 94-22 (February 28, 1994). Plaintiffs will timely provide the IRS with appropriate
forms and information throughout the process. The list of class members will include two
“dummy” letters (one to an individual designated by defendants and one to an individual
designated by plaintiff) so that the parties have knowledge of when the IRS performs the
mailing. The IRS mailing will be deemed received on the day when plaintiffs’ dummy receives
the IRS letter or defendants’ dummy notifies plaintiffs of receipt of the IRS letter, whichever
occurs first. Within 60 days of the IRS’s mailing, Plaintiffs will provide Defendants with a
Preview List of the First Round List Part B, discussed infra. This Preview List shall include
class member names, social security numbers and addresses of class members as to whom
plaintiffs have obtained confirmed addresses after the First Round List Part A. The-purpose of
this Preview List is to enable Defendants to get a head start on preparing the records it needs for
the First Round List Part B checks. Within 90 days after receipt of the IRS’s mailing, plaintiffs
will provide defendants with a list and Excel file for additional located class members in the
same manner set forth in paragraph 11 described for the “First Round List Part A,” supra. This
second list shall be referred to as the “First Round List Part B.” Within 20 business days of
receiving this list, defendants will deliver to plaintiffs’ counsel checks made out to each of the
class members on the “First Round List Part B” in the same manner as described for the “First
Round List Part A” supra. The plaintiffs may also include on the “First Round List Part B”
requests for reissued checks for “First Round List Part A” individuals, if any, whose need
reissued checks because of matters such as mistakes in identity, destroyed checks, and stolen

checks, with such reissuance to occur consistent with defendants’ normal policies and practices

concerning check reissuance.

Class Actions Settlement — page 5

 
 

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15. | Between 95 and 105 days from the delivery of the checks to the plaintiffs’ counsel
on the “First Round List Part B” list defendants will provide to plaintiffs’ counsel a list of those
class members whose checks from the First Round List Part A and First Round List Part B have
not been negotiated (the “Uncashed Check List”).

16. Within 25 days after defendants provide plaintiffs’ counsel the Uncashed Check
List, defendants shall also provide plaintiffs’ counsel with a check in the amount of 80% of the
undistributed amount (amounts allocated to class members who do not appear on the First Round
List Part A or First Round List Part B) and 80% of the amounts identified in the Uncashed Check
List.

17. Plaintiffs’ counsel shall distribute the amount received pursuant to the prior
paragraph in accordance with the procedure set forth in the Allocation Plan, attached hereto, as
approved and/or modified by the District Court.

18. Following defendants’ compliance with all of the above provisions, plaintiffs will
execute a Satisfaction of Judgment in favor of defendants in Chavez and Nunez, even though
defendants will have paid less than the amount of the Chavez Judgment and may have paid less
than $ 10,200,000.

19. | Commencing with the date that the District Court enters an order granting final
approval of this settlement, defendants will pay employees at the Pasco facility the following
number of additional donning, doffing and activity minutes in addition to line time:

a) Processing straight-knife job codes: 11.0 minutes
b) Slaughter straight-knife job codes: 10.0 minutes

c) Hides straight-knife job codes for work in the basement room where the
hides arrive from the slaughter floor: 10.0 minutes

d) Hides main floor class jobs: 6.0 minutes

Class Actions Settlement — page 6

 
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e) All other class jobs in which employees are required to use equipment
beyond the minimum equipment (frock, whites, hard hat, hair net, ear
plugs, cotton gloves, meat hooks, lock and tag): 9.0 minutes

The parties agree that defendants may include in the above listed minutes the four minutes paid
under the “K” code (the “clothes” minutes added in 1998) and paid lunch minutes (i.e., the five
minutes added to the meal period commencing September 15, 2003). The parties agree that
these minutes need to be paid only to the positions covered by the settlement agreement.
Defendants’ obligation to pay additional minutes under this agreement will terminate 3 years
after the date the agreement receives final District Court approval.

20. Payment of the above additional minutes in plaintiffs’ view constitutes full future
compliance with the federal and state wage and hour rest break, meal break, pre-shift, meal break
and post-shift minutes litigated to judgment in Alvarez v. IBP and Chavez during the three year
period referenced above, provided no future changes are made at the Pasco facility which would
increase the amount of previously uncompensated time for these activities

21. In connection with this Class Actions Settlement, the parties agree to seek Court
approval modifying paragraphs 9 and 10 of the Stipulation and Order Re Distribution and
Satisfaction of Judgment in Alvarez v. IBP, Case No. 98-5005 (December 20, 2005). Paragraph
9 relates to the Second Round Distribution therein. Paragraph 10 provides defendants will pay
for certain distribution expenses and attorney fees. Plaintiffs have agreed to delete Paragraph 10
in order to reach this settlement. As to Paragraph 9, plaintiffs seek to use plaintiffs’ 50% share
of Alvarez paragraph 9 money to reimburse counsel for out-of-pocket Alvarez distribution

expenses and distribution fees that would have been covered under Paragraph 10, and to make

certain payments to individuals who present equities for being paid even though not entitled to

Class Actions Settlement — page 7

 
 

 

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payment under the judgment. Plaintiffs will file a motion in Alvarez to accomplish these

purposes, and defendants will not oppose the motion.

22. The parties intend to meet their obligations under this agreement in a timely
manner and recognize that unforeseen or unnecessary delay is undesirable.

Dated this Gn day of May, 2006.

Schroeter Goldmark & Bender Akin Wi LUT Yt ,
William J. Rutzick dO Michael J. Muefle
Kathy Goater Joel M. Cohn

Law Office of David N. Mark

QeL Lox Lledel.

fr? David N. Mark”

Class Actions Settlement — page 8
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ALLOCATION PLAN
Introduction

1, This Allocation Plan is an attachment to the Class Actions Settlement
(“Settlement”) entered into between the parties in Chavez et al. v. IBP et al., Case No. 01-5093
(E.D.Wa.) hereinafter (“Chavez”) and Nunez v. Tyson Fresh Meats, Inc. (not yet
filed)(E.D. Wa.)(hereinafter “Nunez’’).

2. This Allocation Plan sets forth the formulae and procedures which plaintiffs will
use to distribute the $ 10,200,000 maximum payment agreed to in the Settlement.

3. Nunez will be filed promptly as a Pasco plant production line worker settlement
class action after the signing of the Class Actions Settlement. Nunez covers two time periods: 1)
from September 2002 until December 2003 for workers who-were not eligible for membership in
Chavez because they started their work after the May 2002 cutoff period for class membership
eligibility and 2) from January 2, 2004 through the date the District Court grants final approval
of the Settlement in both class actions. To be a Nunez class member an individual must have
started performing class work no later than May 6, 2006. The class definition in Nunez will
cover the same types of jobs as in Chavez, except that it will not include packaging department
employees (Dept. 790 and 990), because packaging department employees do not have any
viable Nunez claims.

Chavez Class Member Allocation

4. $ 8,400,000 will be allocated in the first instance to class member damages in

Chavez. If every Chavez class member were timely located according to the Settlement

procedures, the class members would receive a pre-tax gross amount of $ 8,400,000.

 
 

 

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5. The $ 8,400,000 will be allocated to Chavez class members using the following
steps:
1) start with the Chavez Judgment 11/98 to 6/01 figures ($ 8,293,021)!

2) add 78% of the Judgment 7/01 to 12/03 figures ($ 1,973,097 is 78% of
$ 2,529,611)

3) add 70% of the Judgment double shift figure ($ 418,072 is 70% of
$ 597,245)

4) Get the subtotal of steps 1 through 3 ($ 9,743,980)

5) Calculate the non-opt-in reduction, i.e., multiply by 22% the step 4
damages attributable to individuals as to whom FLSA consents are not
filed with the Court (the parties estimate that non-opt-ins account for
roughly 36% to 40% of the damages)

6) Get the subtotal (step 4 minus step 5)

7) The step 6 figure will be multiplied by a factor to make it equal
$ 8,400,000, the Chavez Settlement fund

The page attached hereto illustrates the above calculations and includes a hypothetical class
member example as a further illustration.
Nunez Class Member Allocation

6. Nunez covers two damage claim periods. See paragraph 3 supra. The first Nunez
damages period (September 2002 to December 2003) will be allocated $ 100,000. The second
Nunez damages period (January 2004 to the date of final Court approval) will be allocated
$ 200,000, which will be distributed only to straight knife users. These damages will be divided
taking into account the amount of work each class member has performed during the damages

periods.

 

' This figure is derived from adding all “1 1/98-6/01” damages from the Chavez Judgment, as illustrated in
the attachment hereto. The Chavez Judgment is attached to the Mark Declaration filed with the motion
for approval of the Chavez settlement.

 
  

ff David N. Mark —

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Paragraph 16 Monies
7. Subject to Court approval, plaintiffs will allocate the first $ 300,000 of plaintiffs’
Settlement Paragraph 16 money to attorney fees and expenses. Additional Paragraph 16 money,
if any, will be allocated to class members in a manner approved of by the Court. This is being
done to allocate a larger portion of the $ 10,200,000 in the first instance to the class members in

Chavez and Nunez.

A,
Dated this “YF day of May 2006.

Schroeter Goldmark & Bender
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7
William J. Rutzick é
Kathy Goater

Law Office of David N. Mark

 

 
 

Case 2:06-cv-05041-RHW ECF No. 4

filed 05/19/06 PagelD.50 Page 16 of 24

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Judgment doce be ee
ee 11/98— 6/01 |7/01- 12/03 __ | Totals
MWA minimum wages __ 1,303,800; 694, 407 1,998, 207
MWA overtime 6 ,031,092| 372,428) 6,403,520
FLSA overtime - 11301, ——=—«6 86,734; 698,035
Arbitration Credit _ Oo ~_ -380,584; —_-380,584
Rest Breaks _ oe 946,828 “1,156,626 626 7 2,103,454
Subtotals ; _ 8,293,021 2,529, 61 1] | 10, 822,632
Double Shifts | _ a 597, 245
eve vente nef ___ Totals! $11,419,877
Settlement Allocation Steps and Figures ee
1. Start with the Judgment 11/98 to 6/01 figures: 8,293,021
2. Add 7 78% of the Judgment 7/01 to 12/03 figures (78% of $ 2,529,611) 1,973,097
3. Add 70% of the Judgment double shift figure (70% of $ 597,245) 418.072
4. Get the Subtotal of Steps 1 through 3 | | — | 10,684,189
5. Calculate the non-opt-in reduction, i.e., multiply by 22% the step 4 damages — -$940,209'
attributable to individuals as to whom an FLSA consents are not filed with the Court
(herein it is estimated that 40% of damages are for non-opt-ins)
6. Get the Subtotal (step 4 minus step 5) 9,743,980
'7, Multiply step 6 figure by factor to make it equal the $8,400,000 settlement fund 0.862070696
The settlement fund figure 8,400,000
Individual Hypothetical -- -
Assume Jose Veraz is a non-opt-in whose judgment total was $5,250, comprisedof | —
i$ 4, 000 for pre-7/01, $ 1,000 for post 7/01 and $250 in double shift damages.
Judgment for Mr. Veraz $5,250
1. Start with the $ 4,000 Judgment 11/98 to 6/01 figure — __ 4,000)
2. Add 78% of the $ 1,000 Judgment 7/01 to 12/03 figures 780
3. Add 70% of the $ 250 Judgment double shift figure ee 175
4. Get the Subtotal of Steps 1 through 3 | 4,955
5. Calculate the non-opt-in reduction: multiply 4,995 by 78% -1,090
6. Get the Subtotal (step 4 minus step 5) | $3,865
7. “Multiply step 6 by classwide factor (step 7 above; hypothetical figure used here) 0.862070696
Settlement Amount for Mr. Veraz $3,332

 

 

 

 

 

($ 4,955 times 0.862070696 multiplier)

 

If, hypothetically, Mr. Veraz opted in for FLSA purposes (and there was no ‘step 4 reduction) _

 

$4,272

 

 
Case 2:06-cv-05041-RHW ECFNo.4 filed 05/19/06 PagelD.51 Page 17 of 24

EXHIBIT 2

 

 
 

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1333 New Hampshire Ave, NW

Washington, DC 20038

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Michael J. Mueller

4) Joel M. Cohn

Nicole M. Mueller

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Seattle, WA 98104

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STIPULATION REGARDING
TOLLING OF STATUTES OF
LIMITATIONS

The undersigned parties, through their legal representatives, hereby agree
as follows.

1. Throughout this agreement, “the anticipated lawsuit” refers to the
proceeding the parties anticipate will be filed in the United States District Court
for the Eastern District of Washington including allegations that certain of
defendants’ policies and practices at their Pasco facility violate the Fair Labor
Standards Act (“FLSA”), 29 U.S.C. §§ 201 et seg. and Washington state law in a

STIPULATION RE TOLLING OF LIMITATIONS PERIODS - 1

 

 
Cadé 2:06-cv-05041-RHW ECFNo.4 filed 05/19/06 PagelD.53 Page 19 of 24

1 ||manner similar to claims made and adjudicated in Alvarez et al. v. IBP, inc., No.
4 ||CT-98-5005-RHW (E.D. Wash.), and Chavez et al. v. IBP, inc., No. CT-01-5093-
RHW (E.D. Wash.). .

2. Throughout this agreement, “plaintiffs” refers to those current and
former employees of defendants’ Pasco, Washington meat-processing facility

° who may participate in the anticipated lawsuit as named plaintiffs, and/or

6 putative opt-in plaintiffs pursuant to 29 U.S.C. §§ 216(b), and/or putative class

7 || members pursuant to Federal Rule of Civil Procedure 23.

8 3. Throughout this agreement, “defendants” refers to Tyson Foods, Inc.,

9 ||and Tyson Fresh Meats, Inc.,

10 4, William Rutzick, Kathryn Goater, and David Mark, and their respective
law firms (collectively “plaintiffs’ counsel”), hereby represent that they are

authorized to act on behalf of one or more plaintiffs and, absent this agreement,

11

12
would have filed the anticipated lawsuit as early as September 6, 2005.

13 oo. . os
5. Beginning before this agreement was executed, plaintiffs’ counsel and

Washington, OC 20036

14 |! defendants have been engaged in negotiations relating to the claims made and

1333 New Hampshire Ave, NVW

15 || adjudicated in Alvarez and Chavez, and similar or additional claims that may be
16 || brought as part of the anticipated lawsuit, with the goal of entering into a
17 ||negotiated resolution to avoid further litigation regarding such issues. The
1g ||Patties hereby represent that they will continue to negotiate in good faith in an
attempt to reach such an agreement and avoid further litigation, in whole or in
part.

6. In consideration of the above, defendants hereby agree that the statute

19
20

21 1 of limitations for any claims that may be included in the negotiated resolution

22 |! will be tolled from September 6, 2005 until such time as a proposed settlement is
23 || filed with the district court.

24 7. Should the parties be unable to reach a negotiated resolution of the
claims that may be included in the lawsuit, defendants nonetheless agree that the

statute of limitations for any claims that are included in the complaint in the

25

 

 

 

STIPULATION RE TOLLING OF LIMITATIONS PERIODS - 2

 

 
 

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anticipated lawsuit will be tolled from September 6, 2005 until such time as the
complaint is filed with the district court.
DATED this day of September, 2005

SCHROETER GOLDMARK & BENDER AKIN GUMP STRAUSS HAUER
& FELD LLP

 

 

 

wv Michael J. Mueller
athy Goater, WSB'A# 9648 Joel M. Cohn
Nicole M. Mueller

LAW OFFICE OF DAVID N. MARK

     

 

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STIPULATION RE TOLLING OF LIMITATIONS PERIODS - 3

 

 
 

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EXHIBIT 3

 
 

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

JOSE NUNEZ, et al., Plaintiff, No, CV-06-5041-LRS
v. _ | NOTICE OF PROPOSED CLASS
TYSON FRESH MEATS, INC. _ Defendant.| ACTION SETTLEMENT

TO: Current and Former Pasco Plant Slaughter, Processing and Hides Workers:

You are a member of this class action lawsuit. It involves claims for unpaid pre-shift, meal
break and post-shift work, paid rest breaks and time between double shifts. It includes (a)
September 2002 to December 2003 work by individuals who started working for Tyson after
May 2002, and (b) work in 2004, 2005 and until May 6, 2006.

The Settlement
The parties have agreed to settle Chavez v. IBP case and this Nunez v. Tyson c case. If you are art
of the Chavez case, then you will be receiving a Chavez notice of settlement in this envelope.

This Notice discusses the Nunez Settlement, the approval/objection process and what you need to
do to receive a settlement check in Nunez. The plaintiffs are asking the Court to approve the
following settlement terms:

e $ 300,000 to the Nunez class members, to be paid (1) for work between September
2, 2002 and December 31, 2003 to workers whose employment began after May
2002, and (2) straight knife users for work between January 2004 and May xxx_,
2006. [date agreement signed]

e Payment of non-production minutes for the next three years as follows: 11 minutes —
processing straight knives; slaughter/hides basement straight knives -- 10 minutes; all
other slaughter/processing line workers required to use more than minimal protective
equipment — 9 minutes; hides main floor — 6 minutes. (Currently Tyson is paying
most production workers 9 minutes non-production time, so, for example, processing
straight knife users will be entitled to an additional 2 minutes).

e Noattorney fees are being requested in connection with this settlement. The
attorneys are receiving fees in connection with the Chavez settlement.

What You Can Do
If you are eligible to receive a check under the Nunez agreement, you must return the address
confirmation postcard enclosed herein or otherwise contact the lawyers — checks will not be
sent without address confirmation.
If you want to exclude yourself from this lawsuit you must return the address confirmation
postcard with “EXCLUDE” written on it or otherwise contact the attorneys, informing them you
want to be excluded.
If you want to object or tell the Court what you think of the settlement, there will be a hearing to
decide whether to approve the settlement. It will be held on , 2006, at __a.m./p.m., in
the United States Courthouse, 825 Jadwin Avenue in Richland, Washington. You are not
required to attend, but you can attend if you want. If you want to object to the settlement
you must either attend the settlement hearing or object by writing to the Chavez and Nunez

 

' The Chavez case resulted in a plaintiffs’ judgment for $ 11.4 million in July 2005 and is being settled for a
payment of up to $ 8.4 million to the class, plus up to $ 1.8 million in attomey fees. See Chavez Notice. By
September 2002, the start of the Nunez damages period, defendants made changes in company policy that greatly
reduced the value of the plaintiffs’ claims.

 

 
 

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y. Tyson Class Actions address below. All letters received prior to the hearing date will be
given to the Court. This notice is a summary. Complete settlement papers may be reviewed
during normal business hours at the Court Clerk’s office. You may contact an attorney of your
own, if you want to.

IT IS VERY IMPORTANT THAT YOU COMPLETE AND RETURN THE
ENCLOSED POSTCARD IF YOU WANT TO RECEIVE MONEY FROM
THIS SETTLEMENT. IF THE ATTORNEYS DO NOT HAVE ADDRESS
CONFIRMATION YOU WILL NOT BE MAILED A SETTLEMENT
CHECK.

If you lose the postcard, you may mail your address and telephone number to the
attorneys. All writings — address information and any settlement objections or comments --
should be sent to:

Chavez and Nunez v. Tyson Class Actions

810 Third Avenue, Suite 500

Seattle, WA 98104
You may also call the attorneys at: (206) 622-8000.
Please, do not call the Court.

Clerk of Court

 

 
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[Label]

If the label above is incorrect, please provide your:
(Si la informacion arriba no es correcto, escriba su):

(name)(nombre)
(street/apt.)/calle/apt.)
(city/state/zip)(cd./edo./codigo)

 

 

 

Chavez and Nunez y. Tyson Class Actions
810 THIRD AVENUE, SUITE 500
SEATTLE, WA 98104

 

My telephone number is:

Mi numero de teléfono es: (__ ne

The last four numbers of my Social Security number are:

Los ultimos cuatros digitos de mi numero de Seguro Social son:
X X X- X X-

 

If your address on the other side is a “P.O.Box” give us your home address:
Si su direccién al otro lado es una “P.O. Box” da su direccién de casa:

(street/apt.)/calle/apt.)
(city/state/zip)(cd./edo./codigo)

 

 

I certify the above is correct. / Certifico que la ariba es correcta.

 

| Sign/Firme

Return this card right away; Devuelva esta tarjeta ahora misma.
Send us your new address if you move before getting your check;

{| Avisenos de su nueva direccién si se muda antes de reciba su cheque.

 

 

 

 

 
